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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF KENTUCKY
                          BOWLING GREEN DIVISION

                                           :
GREG CRADDOCK                              :
                                           :
                         PLAINTIFF         :
                                           :   Civil Action No. 1:19CV-00169-GNS
v.                                         :   CHIEF JUDGE GREG N. STIVERS
                                           :
RURAL COMMUNITY INSURANCE                  :
COMPANY d/b/a RCIS                         :
                                           :
                                           :
                         DEFENDANT         :


                                       ORDER

      Pursuant to the Federal Rules of Civil Procedure, the Court hereby ORDERS:
      1.     Magistrate Judge H. Brent Brennenstuhl will conduct a Rule 16
Scheduling Conference on January 8, 2020, at 9:00 AM CST. The conference
will be conducted telephonically with the Court to initiate the call. Counsel who
will try the case shall participate in the conference.             Exceptions to this
requirement shall be with the understanding that counsel who participate on behalf of
any party (a) shall be fully prepared to discuss all aspects of the case with respect to
the matters to be schedule, (b) shall be empowered to bind all counsel for that party
with respect to dates agreed upon or ordered, and (c) shall have authority to enter into
stipulations and to make admissions regarding all matters that the participants may
reasonably anticipate may be discussed. Fed. R. Civ. P. 16(c) and (f).
If the parties fail to TIMELY file the written joint report required by paragraph 4
herein, the Rule 16 Scheduling Conference will not be telephonic, but shall be
held in the chambers of Magistrate Judge H. Brent Brennenstuhl, U.S.
Courthouse, 241 East Main Street, Bowling Green, Kentucky, on the day and
time stated above. ALL counsel of record and unrepresented parties shall
attend in person.
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      Requests for a change of the conference date shall be made to the Magistrate
Judge=s Case Manager, Kelly Lovell, at 270-393-2507.
      2.     The agenda for the conference shall include all of the items set forth in
Rule 16(c), Federal Rules of Civil Procedure, including but not limited to:
             a.     The formulation and simplification of the issues.

             b.     Admissions of fact, stipulations and avoidance of cumulative
                    evidence.

             c.     Consideration of the discovery plan and review of the automatic
                    initial required disclosures.

             d.     The possibility of settlement or the use of alternative methods
                    of dispute resolution, including mediation.

             e.     The need to adopt special procedures for managing
                    potentially difficult or complex issues.

      3.     No later than December 18, 2019, counsel for the parties shall conduct
the meeting of parties required by Rule 26(f) to discuss the nature and basis of their
claims and defenses, the possibilities for a prompt settlement or resolution of the
case, the exchange of initial disclosures required by Rule 26(a)(1) and to develop a
proposed litigation plan.
      4.     No later than January 1, 2020, counsel for the parties shall file a written
joint report outlining the proposed discovery plan. This report shall advise the Court
as to the following information:
             a.     the parties= views and proposals required by Rule 26(f);

             b.     the length of time counsel reasonably believes will be necessary
                    to join other parties and to amend the pleadings;

             c.     the length of time counsel reasonably believes will be necessary
                    to file dispositive motions; in setting a dispositive motion deadline,
                    the Court will establish the same date for the filing of Daubert
                    motions;

             d.     the length of time counsel reasonably believes will be necessary
                    to complete all pretrial discovery, including expert witness
                    discovery; and
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               e.     the length of time counsel reasonably believes will be necessary
                      for the parties to make the expert disclosures required by Rule
                      26(a)(2), with these disclosures to be made during the pretrial
                      discovery phase of the case.

        5.     The joint report referred to in paragraph 4 should also contain a
statement as to whether the parties have discussed referral of this case to the United
States Magistrate Judge for all purposes in the case, including trial, entry of a final
judgment, and all post judgment proceedings, pursuant to Title 28 United States
Code, Section 636(c) and Rule 73 of the Federal Rules of Civil Procedure and LR
73.1.    Should all parties agree to consent, the required form is attached for
completion and subsequent filing with the Clerk of the Court.
        6.     If there is disagreement between the parties as to the specifics of the
proposed litigation plan, the parties shall set out the nature of the disagreement in
their joint report.
                                         ENTERED BY ORDER OF COURT
                                         CHIEF JUDGE GREG N. STIVERS
                                         UNITED STATES DISTRICT COURT
                                         VANESSA L. ARMSTRONG, CLERK

Date: November 25, 2019                  By:    /s/Traci J. Duff
                                                Traci J. Duff, Deputy Clerk


Copies to:     Counsel of record
               Kelly Lovell
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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Western District
                                                        __________  DistrictofofKentucky
                                                                                 __________

                        GREG CRADDOCK                                           )
                                 Plaintiff                                      )
                                    v.                                          )     Civil Action No. 1:19-CV-00169-GNS-HBB
     RURAL COMMUNITY INSURANCE COMPANY                                          )
                               Defendant                                        )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


              Parties’ printed names                                   Signatures of parties or attorneys                     Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                 District Judge’s signature



                                                                                                  Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.
